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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                           EXPRESS MOBILE, INC.,
                                  10                                                         Case No. 20-cv-08461-RS
                                                        Plaintiff,
                                  11
                                                 v.                                          ORDER RE COORDINATION OF
                                  12                                                         CLAIM CONSTRUCTION
Northern District of California




                                           SALESFORCE.COM, INC.,                             PROCEEDINGS
 United States District Court




                                  13
                                                        Defendant.
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                                  16          This order is being issued in cases presently pending before the undersigned involving

                                  17   United States Patent Nos. 6,546,397; 7,594,168 ; 9,063,755; 9,471,287, and; 9,928,044, or a subset

                                  18   of those patents.1 Within the next 20 days, the parties in all the cases shall meet and confer jointly

                                  19   to discuss procedures for coordinating claim construction proceedings in these cases.

                                  20          Subject to input from the parties, the Court anticipates holding a single claim construction

                                  21   hearing for all the cases. The parties in Express Mobile, Inc. v. Wix.com, Ltd., Case No. 19-cv-

                                  22   06559-RS, have already completed briefing in anticipation of a claim construction hearing that

                                  23   would address no more than 10 disputed terms, as contemplated by the Local Patent Rules. In

                                  24   view of the possibility that there may be at least some differences in accused technology that affect

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                                  26    The one exception is X.Commerce, Inc. (Magento) v. Express Mobile, Inc., Case No. 17-cv-
                                       2605- RS, which involves two of the patents. This order does not apply to that case because claims
                                  27   construction proceedings therein are complete.

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                                   1   the relative importance of certain claim terms among the separate actions, the Court may be open

                                   2   to construing a small number of additional terms in the contemplated joint hearing, if necessary.

                                   3           The parties should attempt to negotiate a protocol and schedule for briefing. Again, if

                                   4   necessary, the Court may entertain limited briefing in individual cases that is specific to unique

                                   5   issues in those cases, but the expectation is that there will be one opening brief, one responsive

                                   6   brief, and one reply brief that applies to all the actions.2

                                   7           All pending dates for initial Case Management Conferences are vacated. The parties shall

                                   8   jointly submit a statement responding to this order within the next 45 days. To ensure a complete

                                   9   record, the joint statement should be filed separately in each action. Although these actions have

                                  10   not been consolidated, for administrative convenience the joint statement, and any further

                                  11   documents that are filed in all of the cases, may be captioned as “In re Express Mobile Cases.”

                                  12   The joint statement should include at least two alternate dates, falling on Wednesdays, that are
Northern District of California
 United States District Court




                                  13   acceptable to all parties for a joint claim construction hearing.

                                  14           In all cases where no scheduling order has yet entered, the parties shall meet and confer

                                  15   and submit a proposed scheduling order for all events prior to claim construction briefing. Such

                                  16   proposed schedules need not be uniform across all cases, as long as they are all consistent with the

                                  17   protocol and schedule the parties will be proposing for the joint claim construction briefing and

                                  18   hearing.

                                  19           Finally, in Express Mobile, Inc. v. Dropbox, Inc. 3:21-cv-01145-RS, plaintiff shall make

                                  20   all reasonable efforts to perfect service and to provide defense counsel with a copy of this order at

                                  21   the earliest opportunity, so that the case may be included in the joint proceedings. Any later-filed

                                  22   actions will be addressed as they may arise.

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                                        The existing briefing in Wix, 19-cv-06559-RS, would be deemed superseded by the joint
                                  27   briefing.

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                                                                                                                  CASE NO.   20-cv-08461-RS
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                                   1   IT IS SO ORDERED.

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                                   3   Dated: March 9, 2021

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                                                                            RICHARD
                                                                            RICHARD SEEBORG
                                   5                                        Chief United States District Judge
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Northern District of California
 United States District Court




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